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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

KELLEN POWELL, et al.                         )        Cause No. 4:15-CV-00840
                                              )
               Plaintiff,                     )
                                              )
      vs.                                     )
                                              )
THE CITY OF ST. ANN,                          )
                                              )
               Defendant.                     )

            NOTICE TO COURT OF SETTLEMENT DISCUSSION

      Plaintiffs, by and through counsels, hereby providing notice to Court

regarding settlement discussion with opposing counsel in the above matter. In

support thereof, Plaintiffs states:

   1. The parties have been in contact and agreed to engage in settlement

discussions.

   2. At this time, the Parties are respectfully requesting for a stay of sixty days

days from any court proceedings to work towards settlement.

   3. The parties are not making the above request to cause delay, but making

the request in good faith to pursue a resolution in the above matter.




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                                  Respectfully submitted,

                                 /s/ Thomas B. Harvey________________
                                 Thomas B. Harvey (MBE #61734)
                                 ArchCity Defenders
                                 812 N. Collins Alley
                                 Saint Louis, Missouri 63102
                                 855-724-2489

                                 /s/ Alec Karakatsanis_________________
                                 Alec Karakatsanis (E.D. Mo. Bar No. 999294DC)
                                 Equal Justice Under Law
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                         CERTIFICATE OF SERVICE

I certify that the above document is a true and correct copy that was sent to the

opposing counsel by U.S. Mail on this date, 26th May, 2015.

                                 /s/ Thomas B. Harvey_______________




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